                 Case 2:15-cr-00131-TLN Document 461 Filed 06/07/19 Page 1 of 4


 1 MCGREGOR W. SCOTT
   United States Attorney
 2 SAMUEL WONG
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2772
   Facsimile: (916) 554-2900
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                                IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                        )   CASE NO. 2:15-CR-131 TLN
                                                      )
12                                 Plaintiff,         )   STIPULATION AND ORDER SEALING ECF NO.
                                                      )   453 AND RELATED PROTECTIVE ORDER
13                           v.                       )
                                                      )   Court: Hon. Troy L. Nunley
14   JOSE MANUEL VALDEZ TORRES, et al.,               )
                                                      )
15                                 Defendants.        )
                                                      )
16                                                    )
                                                      )
17

18          Whereas, on May 17, 2019, in ECF Document filing No. 453, plaintiff United States of America,
19 inadvertently attached the wrong document which should have been sealed and not included in its public

20 filing; and

21          Whereas, within approximately two and one-half hours after the United States’ filing mistake, on
22 May 17, 2019, court staff sealed ECF Document No. 453 after court staff was alerted of the United

23 States’ filing mistake,

24          It is hereby stipulated and agreed by and between the parties, through their respective attorneys,
25 except for Dwight Samuel who agrees to this stipulation and order only in his individual capacity, and

26 Jeffrey Staniels who is the former attorney for defendant Sicairios, subject to the Court’s approval, the

27 Court order that:

28          1.       ECF Document No. 453 shall remain under permanent court seal; and

            2.       In the event that any defense counsel and/or defense counsel’s staff opened, downloaded,
             Case 2:15-cr-00131-TLN Document 461 Filed 06/07/19 Page 2 of 4


 1 saved, read, printed, and/or copied ECF Document No. 453 before court staff sealed ECF Document No.

 2 453, defense counsel shall forthwith destroy all paper and/or electronic copies and/or notes made of ECF

 3 Document No. 453, and all defense counsel and defense counsel’s staff shall not discuss, disseminate,

 4 share, and/or publish the contents of ECF Document No. 453 with anyone, including defense counsel’s

 5 client.

 6   DATED: May 20, 2019                                McGREGOR W. SCOTT
                                                        United States Attorney
 7
                                                        By: /s/ Samuel Wong
 8                                                      SAMUEL WONG
                                                        Assistant United States Attorney
 9

10
     DATED: May 20, 2019
11                                                     /s/ Chris Cosca
                                                By:
12                                                     CHRIS COSCA
                                                       Attorney for defendant
13                                                     Roberto Gomez

14 DATED: May 24, 2019
                                                       /s/ Armando Villapudua
15                                              By:
                                                       ARMANDO VILLAPUDUA
16
                                                       Attorney for defendant
17                                                     Leonel Valdez Ayon

18 DATED: May 20, 2019
                                                       /s/ Scott Nelson Cameron
19                                              By:
                                                       SCOTT CAMERON
20
                                                       Attorney for defendant
21                                                     Edgar Eduardo Herrera

22
     DATED: May 20, 2019
23                                                     /s/ Heather Williams
                                                By:
24
                                                       HEATHER WILLIAMS
25                                                     Attorney for defendant
                                                       Jason Duane Rogers
26

27

28
            Case 2:15-cr-00131-TLN Document 461 Filed 06/07/19 Page 3 of 4


 1 DATED: May 20, 2019
                                              /s/ John Manning
 2                                      By:
                                              JOHN MANNING
 3
                                              Attorney for defendant
 4                                            Shannon Anthony Armstrong

 5 DATED: May 20, 2019
                                              /s/ Jesse Ortiz
 6                                      By:
                                              JESSE ORTIZ
 7                                            Attorney for defendant
                                              Leobardo Martinez-Carranza
 8

 9 DATED: May 20, 2019

10                                            /s/ Toni White
                                        By:
11                                            TONI WHITE
                                              Attorney for defendant
12                                            Bradley Gene Ward

13
     DATED: May 20, 2019
14                                            /s/ Clemente Jimenez
                                        By:
15                                            CLEMENTE JIMENEZ
                                              Attorney for defendant
16                                            David Andrews Uhrig
17
     DATED: June 6, 2019
18                                            /s/ David Grow
                                        By:
19                                            DAVID GROW
                                              Attorney for defendant
20                                            William James Welch
21

22 DATED: May 20, 2019
                                              /s/ Dwight Samuel
23                                      By:
                                              DWIGHT SAMUEL
24                                            Former attorney for defendant
                                              Michael William McGibbon, now inactive
25

26 DATED: May 20, 2019

27                                            /s/ Jeffrey Staniels
                                        By:
28                                            JEFFREY STANIELS
                                              Former attorney for defendant
                                              Jesus Humberto Zurita Sicairos
                    Case 2:15-cr-00131-TLN Document 461 Filed 06/07/19 Page 4 of 4


 1 DATED: May 20, 2019

 2                                                              /s/ Nicholas Reyes
                                                       By:
 3                                                              NICHOLAS REYES
                                                                Attorney for defendant
 4                                                              Efrain Reyes Barajas

 5
                                        -------------------------------------------------
 6
                                                           ORDER
 7
               Pursuant to stipulation of respective counsel for the parties, and good cause appearing therefrom,
 8
     the Court adopts the stipulation of the parties in its entirety as its ORDER.
 9
               The Court hereby ORDERS that:
10
               1.       ECF Document No. 453 shall remain under permanent court seal; and
11
               2.       In the event that any defense counsel and/or defense counsel’s staff opened, downloaded,
12
     saved, read, printed, and/or copied ECF Document No. 453 before court staff sealed ECF Document No.
13
     453, defense counsel shall forthwith destroy all paper and/or electronic copies and/or notes made of ECF
14
     Document No. 453, and all defense counsel and defense counsel’s staff shall not discuss, disseminate,
15
     share, and/or publish the contents of ECF Document No. 453 with anyone, including defense counsel’s
16
     client.
17

18
     DATED: June 7, 2019
19
                                                                         Troy L. Nunley
20                                                                       United States District Judge
21

22

23

24

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